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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

               -v-                                     Criminal Case No. 21-0080 (NGG)

DOUGLASS MACKEY,                                            NOTICE OF MOTION

                          Defendant.

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                 PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and

exhibit thereto and all proccedings in this case, Douglass Mackey will move this Court at a date

and time to be set by the Court for an order dismissing this case and for any other relief deemed

appropriate.

Dated: June 24, 2022



                                                      /s/ Andrew J. Frisch
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June 24, 2022
